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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY

  SANDRA HIDENRICK, individually and on
  behalf of all others similarly situated,
                                                               Case No. 2:18-cv-11214
                       Plaintiff,

                           v.

  AFFILIATED MONITORING, INC., et al,

                      Defendants.


                                    NOTICE OF SETTLEMENT

       Plaintiff Sandra Hidenrick hereby gives notice that the parties have reached a settlement

in principle of Plaintiff’s individual claims, and respectfully requests that all current deadlines be

suspended for 30 days to allow the parties to memorialize their settlement in a written agreement.

Dated: July 1, 2019
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